
MEMORANDUM **
Donald Lukens appeals pro se from the district court’s decision affirming a bankruptcy court order dismissing Lukens’ Chapter 7 bankruptcy case. We have jurisdiction under 28 U.S.C. § 158(d). We review for clear error the bankruptcy court’s findings of fact and review de novo its legal conclusions. Allred v. Kennerley (In re Kennerley), 995 F.2d 145, 146 (9th Cir.1993). We affirm.
The bankruptcy court did not clearly err in finding that Lukens failed to cooperate with the trustee and bankruptcy court. See Neary v. Padilla (In re Padilla), 222 F.3d 1184, 1191 (9th Cir.2000). Lukens engaged in “unreasonable delay” under 11 U.S.C. § 707(a)(1), and did not file the true *814and complete disclosures required by 11 U.S.C. § 521(1). See 11 U.S.C. § 707(a)(3) (failure to file documents required under 11 U.S.C. § 521(1) as basis for dismissal).
The bankruptcy court did not err by dismissing Lukens’ bankruptcy petition with prejudice pursuant to 11 U.S.C. § 349(a) on the ground that Lukens’ conduct was egregious. C.f. Leavitt v. Soto (In re Leavitt), 171 F.3d 1219, 1224 (9th Cir.1999).
Lukens’ remaining contentions lack merit.
AFFIRMED.

 This disposition is not appropriate for publication and may not be cited to or by the courts of this circuit except as provided by 9th Cir. R. 36-3.

